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                  Exhibit 4
4/29/22, 10:23 AM        Case 3:15-cv-00675-JBA
                                           United StatesDocument          2243-4
                                                         Inflation Rate - March        Filed
                                                                                2022 Data       05/10/22
                                                                                          - 1914-2021 Historical -Page     2 of 2
                                                                                                                  April Forecast




   United States Inflation Rate

       Summary            Calendar          Forecast          Stats        Download          ()     Alerts


   The annual inflation rate in the US accelerated to 8.5% in March of 2022, the highest since December of
   1981 from 7.9% in February and compared with market forecasts of 8.4%. Energy prices increased 32%,
   namely gasoline (48%) and fuel oil (70.1%) as Russia’s invasion of Ukraine pushed crude oil prices higher.
   Also, food prices jumped 8.8%, the most since May 1981. Also, inflation accelerated for shelter (5% vs
   4.7% in February) and new vehicles (12.5% vs 12.4%) but eased for used cars and trucks (35.3% vs
   41.2%). Excluding volatile energy and food categories, the CPI rose 6.5%, the most in 40 years but
   slightly below forecasts of 6.6%. Many analysts expect that March will mark the peak in inflation although
   the war in Ukraine is far from over, supply chain bottlenecks persist and consumer demand remains
   elevated which is likely to weigh on the CPI for longer. source: U.S. Bureau of Labor Statistics (http://www.bls.gov/)


             1Y       5Y       10Y        MAX                       




      Calendar                    GMT                                       Actual           Previous              Consensus         TEForecast

      2022-03-10                  01:30 PM                     Feb             7.9%               7.5%                     7.9%           7.9%

      2022-04-12                  12:30 PM                     Mar             8.5%               7.9%                     8.4%           8.3%

      2022-05-11                  12:30 PM                     Apr


          +      (/calendar)

https://tradingeconomics.com/united-states/inflation-cpi#:~:text=US Inflation Rate Tops Forecasts,with market forecasts of 8.4%25.                1/7
